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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 EVANSTON INSURANCE
 COMPANY,
                               Plaintiff,
       v.                                           1:05-cv-2012-WSD
 CENTENNIAL HEALTHCARE
 CORP., GENERAL START
 INDEMNITY COMPANY,
 NATIONAL UNION FIRE
 INSURANCE COMPANY OF
 PITTSBURGH, PA and
 AMERICAN INTERNATIONAL
 SPECIALTY LINES INSURANCE
 COMPANY,
                            Defendants.


                            OPINION AND ORDER

      This matter is before the Court on Defendant General Star Indemnity

Company’s (“General Star”) Motion to Dismiss Defendant Centennial Healthcare

Corp.’s (“Centennial”) Counterclaim and Cross-Claim for Declaratory Judgment

[15] and Brief in Support thereof [16] (“Mot. to Dismiss”).
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I.    FACTUAL BACKGROUND

      On August 1, 2005, Plaintiff Evanston Insurance Company (“Evanston”)

filed this action for declaratory judgment pursuant to 28 U.S.C. §§ 2201-2202.1

Evanston seeks a determination regarding the respective rights and obligations of

the parties under an insurance policy which it issued to Defendant and Cross-

Claimant Centennial in connection with professional and general liability claims

asserted against Centennial by residents of nursing home facilities. Defendants

General Star, National Union Fire Insurance Company of Pittsburgh, PA

(“National Union”), and American International Specialty Lines Insurance

Company (“AISLIC”) also issued insurance policies to Centennial for different

coverage periods which contained different terms and conditions.

      In December 2002, Centennial filed a voluntary petition for Chapter 11

bankruptcy in the United States Bankruptcy Court, Northern District of Georgia.

When the Chapter 11 petition was filed, numerous personal injury claims were

pending against Centennial by residents of Centennial nursing homes. These

actions generally alleged that Centennial was liable for injury to residents suffered


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         By Order entered July 14, 2005, the Bankruptcy Court granted Plaintiff
Evanston permission to proceed with the filing of its declaratory judgment action
in this Court. In re Centennial Healthcare Corp., No. 02-74974 [2800].
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while they were residents at and in the care of Centennial in Centennial facilities.

These cases were pending in various states throughout the country (the

“Underlying Claims”). The litigation of these personal injury claims against

Centennial was stayed as a result of Centennial’s bankruptcy filing. In June 2004,

the Bankruptcy Court approved a Third Amended Joint Plan of Reorganization (the

“Bankruptcy Plan” or “Plan”). The Bankruptcy Plan sets forth a procedure for

addressing the Underlying claims against Centennial.

      On September 30, 2005, Centennial filed a Counterclaim and Cross-Claim

against all parties to the declaratory judgment action (“Cross-Claim”). The Cross-

Claim seeks a declaration of the obligations of Centennial with respect to claims

brought by claimants who have elected or are deemed to have elected the

“Insurance Option”2 under the Bankruptcy Plan. (Cross-Claim, at ¶¶ 5-11.) On

November 28, 2005, Defendant General Star filed its Motion to Dismiss

Centennial’s Cross-Claim. General Star argues that Centennial fails to allege a

justiciable controversy between the parties, fails to allege that it is seeking


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          Under the Bankruptcy Plan, parties properly bringing claims against
Centennial are required to choose to proceed with their claim under one of two
options–the Insurance Option or the Distribution Option. Claimants who fail to
make timely elections are deemed to have chosen the Insurance Option. (Compl.,
at ¶ 25.)
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coverage under any General Star insurance policy for any claims falling under the

Bankruptcy Plan, and fails to allege any basis for this Court to hear a claim

concerning the construction and interpretation of the Bankruptcy Plan. Centennial

argues that any decision that interprets the impact of the General Star policies on

General Star and Centennial requires the Court to interpret the Plan and its effect

on the policies, and therefore the Court should deny General Star’s Motion to

Dismiss.

II.   DISCUSSION

      A.     Standard on Motion to Dismiss

      The law in this Circuit governing motions to dismiss pursuant to Rule

12(b)(6) for failure to state a claim is well settled. Dismissal of a complaint is

appropriate only when, on the basis of a dispositive issue of law, no construction of

the factual allegations will support the cause of action. Marshall County Bd. of

Educ. v. Marshall County Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993).

“Although a plaintiff is not held to a very high standard in a motion to dismiss for

failure to state a claim, some minimal pleading standard does exist.” Wagner v.

Daewoo Heavy Indus. Am. Corp., 289 F.3d 1268, 1270 (11th Cir.), rev’d on other

grounds, 314 F.3d 541 (11th Cir. 2002) (en banc). “To survive a motion to

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dismiss, plaintiffs must do more than merely state legal conclusions; they are

required to allege some specific factual bases for those conclusions or face

dismissal of their claims.” Jackson v. BellSouth Telecomms., 372 F.3d 1250, 1263

(11th Cir. 2004) (“[C]onclusory allegations, unwarranted deductions of facts or

legal conclusions masquerading as facts will not prevent dismissal.”) (citations

omitted). Applying these principles, the Court will address General Star’s

arguments in favor of dismissal.

      B.     Existence of a Justiciable Controversy

      The Declaratory Judgment Act provides “[i]n a case of actual controversy

within its jurisdiction, . . . any court of the United States, upon the filing of an

appropriate pleading, may declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could

be sought.” 28 U.S.C. § 2201. The threshold question in cases arising under the

Act is whether a justiciable controversy exists. Md. Cas. Co. v. Pac. Coal & Oil

Co., 312 U.S. 270, 272 (1941); U.S. Fire Ins. Co. v. Caulkins Indiantown Citrus

Co., 931 F.2d 744, 747 (11th Cir. 1991) (citations omitted). Jurisdiction under the

Declaratory Judgment Act is limited to actual “cases or controversies.” Caulkins

Indiantown Citrus Co., 931 F.2d at 747; see also Tilley Lamp Co. v. Thacker, 454

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F.2d 805, 807-08 (5th Cir. 1972). Whether there is such a cognizable controversy

is determined on a case by case basis. Caulkins Indiantown Citrus, 931 F.2d at

747; see also BP Chemicals v. Union Carbide Corp., 4 F.3d 975, 977-78 (Fed. Cir.

1993) (stating that “the controversy must be actual, not hypothetical or of uncertain

prospective occurrence” and “[t]here must be a definite and concrete dispute

between adverse parties, appropriate to immediate and definitive determination of

their legal rights”). The controversy must be more than conjectural, it must “be

definite and concrete, touching the legal relations of parties having adverse legal

interests.” Caulkins Indiantown Citrus, 931 F.2d at 747. “[T]he facts alleged,

under all the circumstances, [must] show that there is a substantial controversy,

between parties having adverse legal interests, of sufficient immediacy and reality

to warrant the issuance of a declaratory judgment.” Md. Cas. Co., 312 U.S. at 273.

Courts possess discretion under the Act to decide whether to declare the rights of

the parties. Wilton v. Seven Falls Co., 515 U.S. 277, 286-87 (1995). If no

immediate and substantial controversy exists between the parties regarding the

Bankruptcy Plan, a declaratory judgment is not warranted at this time and the

Cross-Claim should be dismissed.




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      Centennial’s Cross-Claim “seeks an adjudication of its rights and the

respective rights of Evanston and the Other Insurers under the [Bankruptcy] Plan.”

(Cross-Claim, at ¶ 4.) It alleges the Bankruptcy Plan requires that if a claimant

selects the Insurance Option, he waives any right to receive a distribution from the

bankruptcy estates. (Id. at ¶ 5.) Centennial also asserts that a claimant operating

under the Insurance Option waives “any right to pursue any claim . . . arising prior

to the Plan’s confirmation date against Centennial or any ‘Related Third Party,’ as

defined in the Plan, 3 except [to] establish[] a right to receive applicable proceeds

of any insurance policy under which such Related Third Party is insured.” (Id. at ¶

6.) Centennial further alleges that under the Plan, it has no personal liability

(except to the extent of applicable insurance proceeds) in any Underlying Claim by

claimants operating under the Insurance Option. (Id. at ¶ 8.) Centennial claims the

Bankruptcy Plan requires insurance companies providing coverage for an

applicable policy period to defend against and pay any judgment from claimants



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         The term “Related Third Party” is defined by the Plan as “any present or
former officer, director, or employee of the Debtors, any additional insured under
any insurance policy issued to the Debtors, and any person who is or may be
entitled to indemnification by the Debtors with respect to a particular General
Liability Claim or a Professional Liability Claim.” (Bankruptcy Plan, attached to
Centennial’s Cross-Claim for Declaratory Judgment [4] as Ex. 2, at ¶ 2.88.)
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under the Insurance Option, subject to the provisions and limits of any applicable

insurance policy and applicable non-bankruptcy law. (Id. at ¶ 10.) Finally,

Centennial alleges that, where insurance proceeds are unavailable, the claimant has

no claim against Centennial or any Related Third Party or any right to distribution

under the Plan. (Id. at ¶ 11.)

      In short, Centennial asks this Court to determine the rights of Centennial,

Evanston, General Star, National Union, and AISLIC under the Bankruptcy Plan.4

No substantial controversy can exist regarding the meaning of the Bankruptcy Plan

and its effect on the parties’ insurance policies until the Court actually interprets

the respective policies and decides what obligations they impose. Any controversy

will arise, if at all, after such determination has been made. Centennial does not

allege in its Cross-Claim that a dispute has arisen among the parties as to the Plan’s

effect on the insurance policies at issue in this case. Centennial’s liability with

respect to the tort claimants under the Bankruptcy Plan is unrelated to the dispute


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        Centennial does not deny that it asks the Court to interpret the Plan, but
argues that General Star’s Cross-Claim requires interpretation of the Bankruptcy
Plan, thus Centennial is entitled to Plan interpretation. The Complaint and General
Star’s Cross-Claim, however, do not ask for the Plan to be interpreted. General
Star simply asks the Court to interpret its rights and obligations under the General
Star insurance policies. Centennial asks the Court to interpret its obligations under
the Bankruptcy Plan in relation to personal injury claimants.
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among the parties regarding which insurance policies apply, if at all, and during

which time periods. Whether the Plan potentially requires Centennial to pay

money to personal injury claimants is not an issue “of sufficient immediacy and

reality” among Centennial, General Star, or the other parties to warrant the

issuance of a declaratory judgment. The Bankruptcy Court is the appropriate

forum for making that determination, and it is in a better position to interpret the

Plan regarding any liability by Centennial to the personal injury claimants.

      “Since its inception, the Declaratory Judgment Act has been understood to

confer on federal courts unique and substantial discretion in deciding whether to

declare the rights of litigants.” Wilton, 515 U.S. at 286. It is "an enabling Act,

which confers a discretion on the courts rather than an absolute right upon the

litigant." Id. at 287 (citations omitted). At this stage in the litigation, no

immediate and substantial controversy has arisen regarding the proper

interpretation of the Plan, and it would be inappropriate for the Court to interpret a

Plan put in place by the Bankruptcy Court which has jurisdiction over Centennial’s




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bankruptcy.5 The Court therefore declines to declare the rights of the litigants with

respect to the Plan, and Centennial’s Cross-Claim should be dismissed.

III.   CONCLUSION

       Accordingly,

       IT IS HEREBY ORDERED that Defendant General Star’s Motion to

Dismiss Centennial Healthcare Corp.’s Counterclaim and Cross-Claim for

Declaratory Judgment [15] be GRANTED.




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        This is not to say that a dispute among the parties regarding the meaning of
the Plan will not arise in the future. At this time, however, there is no need for the
Court to interpret the Plan. The Court’s task here is to review the respective
insurance policies and decide which policies, if any, apply, and during which time
periods they apply. If, after the various insurance policies have been interpreted by
this Court and applied by the Bankruptcy Court under the Plan, Centennial
disagrees with any decision rendered by the Bankruptcy Court, it may exercise its
available rights of review of the decision, including an appeal pursuant to 28
U.S.C. § 158.
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SO ORDERED this 9th day of August, 2006.




                            _______________________________
                            WILLIAM S. DUFFEY, JR.
                            UNITED STATES DISTRICT JUDGE




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